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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES SECURITIES AND EXCHANGE                        Civil No. 1:17-CV-04179-DLC
 COMMISSION,
                                                             Honorable Judge Denise L. Cote
           Plaintiff,                                        Magistrate Judge Ronald L. Ellis

 v.                                                            AMENDED ANSWER TO
                                                              PLAINTIFF’S COMPLAINT
 ALPINE SECURITIES CORPORATION,
                                                                           AND
           Defendant.                                               JURY DEMAND


          Defendant Alpine Securities Corporation (“Alpine”), by and through undersigned

counsel, hereby submits this Amended Answer to Plaintiff’s United States Securities and

Exchange Commission’s (“SEC” or “Plaintiff”) Complaint and Jury Demand:

                                       Response to Summary

          1.      Alpine admits that it acts as a clearing firm for many microcap over-the-counter

securities transactions, and that in its many years of operations it has cleared thousands of

microcap securities transactions. Alpine denies the remaining allegations in Paragraph 1 to the

extent they are inconsistent with this allegation.       Alpine further affirmatively states that

Plaintiff’s allegation that Alpine has contributed to purported “stock manipulation and other

schemes” is inflammatory, false and irrelevant to any of the issues in this books-and-records

case, and therefore does not warrant a response and should be stricken from the Complaint.

          2.      Paragraph 2 of the Complaint contains conclusions of law to which no response is

required. To the extent there are any well-pled factual allegations in Paragraph 2 to which a

response is required, Alpine denies the allegations.




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         3.     Alpine admits that it has a Bank Secrecy Act (“BSA”) compliance program that

includes, among other things, written supervisory procedures (“WSPs”), as well as formal and

informal training. Alpine denies the remaining allegations in Paragraph 3.

         4.     Alpine denies the allegations in Paragraph 4 of the Complaint. Alpine further

affirmatively states that Plaintiff’s allegation that Alpine “facilitated illicit actors’ evasion of

scrutiny by U.S. Regulators and law enforcement, and provided them with access to the markets

they might otherwise have been denied,” is inflammatory, false, and irrelevant to any of the

issues in this books-and-records case, and therefore does not warrant a response and should be

stricken from the Complaint.

         5.     Alpine denies the allegations in Paragraph 5 of the Complaint.

                   Response to Nature of Proceedings and Requested Relief

         6.     No response is required to Paragraph 6 because the allegations describe Plaintiff’s

characterization of the case and/or contain conclusions of law. To the extent there are any well-

pled factual allegations in Paragraph 6 to which a response is required, Alpine denies the

allegations.

         7.     No response is required to Paragraph 7 because the allegations contain

conclusions of law. To the extent there are any well-pled factual allegations in Paragraph 7 to

which a response is required, Alpine denies the allegations.

         8.     No response is required to Paragraph 8 because the allegations contain

conclusions of law and are vague and conclusory insomuch as Plaintiff fails to provide

identifying information for any of the alleged securities or other transactions referenced therein

to enable Alpine to understand and respond to the allegations. To the extent there are any




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well-pled factual allegations in Paragraph 8 to which a response is required, Alpine denies the

allegations.

         9.     Alpine admits the allegations in the first, second and fourth sentences of

Paragraph 9. The third sentence of Paragraph 9 contains a legal conclusion to which no response

is required. To the extent there are any well-pled factual allegations in the third sentence of

Paragraph 9 to which a response is required, Alpine denies those allegations. Alpine also denies

all of the remaining allegations in Paragraph 9. Alpine further affirmatively states that Plaintiff’s

allegations that “Alpine has a history of disciplinary actions brought against it by the Financial

Industry Regulatory Authority (“FINRA”) for various violations . . . .” is inflammatory, vague,

false, and irrelevant to any of the issues in this books-and-records case, and therefore does not

warrant a response and should be stricken from the Complaint.

                               Response to Other Relevant Entity

         10.    Alpine admits the allegations in the first two sentences in Paragraph 10. Alpine

further admits that Scottsdale Capital Advisors Corporation (“Scottsdale”) has introduced

customers to Alpine for which Alpine is a clearing broker and that, upon information and belief,

Scottsdale’s business focuses on microcap securities transactions. No response is required to the

Plaintiff’s allegations that Scottsdale introduced customers to Alpine “who conducted the

majority of transactions that are the subject of this matter,” because they are vague and

conclusory. To the extent any of the remaining allegations in Paragraph 10 are well-pled factual

allegations that require a response, Alpine denies the remaining allegations.

                                        Response to Facts

         11.    No response is required to Paragraph 11 because the allegations contain

conclusions of law and/or Plaintiff’s characterization of the requirements imposed by certain




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laws or regulations. To the extent there are any well-pled factual allegations in Paragraph 11 to

which a response is required, Alpine denies the allegations.

         12.    No response is required to Paragraph 12 because the allegations contain

conclusions of law and/or Plaintiff’s characterization of the requirements under certain laws or

regulations. To the extent there are any well-pled factual allegations in Paragraph 12 to which a

response is required, Alpine denies the allegations.

         13.    No response is required to Paragraph 13 because the allegations contain

conclusions of law and/or Plaintiff’s characterization of the requirements under certain laws or

regulations. To the extent there are any well-pled factual allegations in Paragraph 13 to which a

response is required, Alpine denies the allegations.

         14.    No response is required to the allegations in the first sentence in Paragraph 14

because they are vague and conclusory in that Alpine does not know what is meant by the term

“source.” To the extent a response is required to the first sentence, Alpine denies the allegations

in the first sentence of Paragraph 14. No response is required to the remaining allegations in

Paragraph 14 because they contain conclusions of law and/or Plaintiff’s characterization of a

disciplinary action in another matter against Scottsdale an Order which speaks for itself. Alpine

further affirmatively states that Plaintiff’s reference to an alleged disciplinary action against

Scottsdale is also irrelevant to any of the issues in this books-and-records case, and therefore

does not warrant a response and should be stricken from the Complaint. To the extent any of the

remaining allegations in Paragraph 14 are well-pled factual allegations that require a response,

Alpine lacks sufficient knowledge or information to respond to the allegations in Paragraph 14

and therefore denies the same.




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         15.    No response is required to Paragraph 15 because the allegations are vague and

conclusory in that Plaintiff does not identify any of the “customers” alleged. Alpine further

affirmatively states that the allegations in Paragraph 15 are irrelevant to any of the issues in this

books-and-records case and therefore do not warrant a response and should be stricken from the

Complaint. To the extent there are any well-plead factual allegations in Paragraph 15 to which a

response is required, Alpine lacks sufficient knowledge or information to respond to the

allegations in Paragraph 15 and therefore denies the same.

         16.    Alpine admits that it files SARs in compliance with its duties under the BSA, but

denies the remaining allegations in Paragraph 16.

         17.    No response is required to the allegations in Paragraph 17 because they contain

Plaintiff’s characterization of documents that speak for themselves as to their legal meaning, if

any. To the extent a response is required to the allegations in Paragraph 17, Alpine admits that

its WSPs, during the relevant period, contained some of the language quoted in Paragraph 17, but

denies Plaintiff’s characterization of the documents and, to the extent that Plaintiff has not

quoted fully and fairly from Alpine’s WSPs, denies the same.

         18.    Alpine admits that its BSA Compliance Program included WSPs, as well as

formal and informal training that integrated FinCEN guidance and states that any referenced law

or regulation contained in Paragraph 18 speaks for itself as to its legal meaning and force, if any.

To the extent any of the remaining allegations in Paragraph 18 are well-pled factual allegations

that require a response, Alpine denies the remaining allegations.

         19.    No response is required to Paragraph 19 because the allegations contain

conclusions of law and/or are vague and conclusory insomuch as Plaintiff fails to provide

identifying information for any of the alleged securities or other transactions referenced therein




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to enable Alpine to understand and respond to the allegations. To the extent there are any

well-pled factual allegations in Paragraph 19 for which a response is required, Alpine denies the

allegations.

         20.    No response is required to the allegations in Paragraph 20 because they contain

Plaintiff’s characterization of documents that speak for themselves as to their legal meaning, if

any. To the extent a response is required to the allegations in Paragraph 20, Alpine admits that,

during 2011 and most of 2012, Alpine’s “Standard Operating Procedures” contained the

language block-quoted in Paragraph 20, but denies Plaintiff’s characterization of the documents

and all remaining allegations in Paragraph 20.

         21.    No response is required to Paragraph 21 because the allegations contain

conclusions of law and/or are vague and conclusory insomuch as Plaintiff fails to provide

identifying information for any of the alleged securities or other transactions referenced therein

to enable Alpine to understand and respond to the allegations. To the extent there are any

well-pled factual allegations in Paragraph 21 for which a response is required, Alpine denies the

allegations.

         22.    No response is required to Paragraph 22 because the allegations contain

conclusions of law and/or Plaintiff’s characterization of documents that speak for themselves as

to their legal meaning and force, if any. Alpine further affirmatively states that the allegations in

Paragraph 22 referencing FINRA’s purported findings in 2012 are also irrelevant and immaterial

to any of the issues in this books-and-records case, and therefore does not warrant a response and

should be stricken from the Complaint. To the extent there are any well-pled factual allegations

in Paragraph 22 for which a response is required, Alpine admits that FINRA conducted an

examination of Alpine beginning in about May of 2012 and that FINRA provided an




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Examination Disposition Letter to Alpine on September 28, 2012, but denies that Plaintiff’s

allegations fully, fairly and accurately quoted from this letter. Alpine lacks sufficient knowledge

or information to respond to remaining allegations in Paragraph 22 and therefore denies the

same.

         23.    No response is required to Paragraph 23 because the allegations contain

conclusions of law and/or are vague and conclusory insomuch as Plaintiff fails to provide

identifying information for any of the alleged securities or other transactions referenced therein

to enable Alpine to understand and respond to the allegations. To the extent there are any

well-pled factual allegations in Paragraph 23 for which a response is required, Alpine denies the

allegations.

         24.    No response is required to Paragraph 24 because the allegations contain

conclusions of law and/or Plaintiff’s characterization of documents that speak for themselves as

to their legal meaning, if any.     Alpine further affirmatively states that the allegations in

Paragraph 22 regarding the SEC’s Office of Compliance Inspections and Examinations

(“OCIE”) are also immaterial to any of the issues in this books-and-records case, and therefore

do not warrant a response and should be stricken from the Complaint. To the extent there are

any well-pled factual allegations in Paragraph 24 for which a response is required, Alpine admits

that OCIE issued Alpine a letter but denies that Plaintiff’s allegations fully, fairly and

accurately quote from or characterize this letter. Alpine denies all of the remaining allegations in

Paragraph 21.

         25.    No response is required to Paragraph 25 because the allegations contain

conclusions of law and/or are vague and conclusory insomuch as Plaintiff fails to provide

identifying information for any of the alleged securities or other transactions referenced therein




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to enable Alpine to understand and respond to the allegations. To the extent there are any

well-pled factual allegations in Paragraph 25 for which a response is required, Alpine denies the

allegations.

         26.    No response is required to the Paragraph 26 because the allegations contain

conclusions of law and are vague and conclusory in that Plaintiff does not identify any of the

“customers” referenced and fails to provide identifying information for any of the alleged

securities or other transactions referenced therein to enable Alpine to understand and respond to

the allegations. Alpine further affirmatively alleges that Plaintiff’s allegation that “[m]any of

Scottsdale’s customers . . . have been charged by the Commission for improper conduct relating

to transactions cleared through Alpine,” does not warrant a response and should be stricken from

the Complaint because it is irrelevant to any of the issues in this books-and-records case, and is

false based upon information and belief from the vague information alleged. To the extent there

are any well-pled factual allegations in Paragraph 26 for which a response is required, Alpine

denies the allegations.

         27.    No response is required to Paragraph 27 because the allegations are vague and

conclusory insomuch as Plaintiff fails to provide identify the alleged “warnings” or “defects”

referenced therein to enable Alpine to understand and respond to the allegations. Alpine further

affirmatively alleges that Plaintiff’s allegation that Alpine “facilitates and enables illicit financial

activity” does not warrant a response and should be stricken from the Complaint because it is

false and irrelevant to any of the issues in this books-and-records case. To the extent there are

any well-pled factual allegations in Paragraph 27 for which a response is required, Alpine denies

the allegations.




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         28.    No response is required to the Paragraph 28 because the allegations contain

conclusions of law and are vague and conclusory in that Plaintiff does not identify any of the

“customers” referenced and fails to provide identifying information for any of the alleged

securities or other transactions referenced therein to enable Alpine to understand and respond to

the allegations. To the extent there are any well-pled factual allegations in Paragraph 28 for

which a response is required, Alpine denies the allegations.

         29.    No response is required to Paragraph 29 because the allegations contain

conclusions of law and/or Plaintiff’s characterization of documents that speak for themselves as

to their legal meaning and force, if any. To the extent there are any well-pled factual allegations

in Paragraph 29 for which a response is required, Alpine admits that it has incorporated guidance

from FinCEN into its BSA compliance program, but denies the remaining allegations.

         30.    No response is required to Paragraph 30 because the allegations contain

conclusions of law and/or are vague and conclusory insomuch as Plaintiff fails to provide

identifying information for any of the alleged securities or other transactions referenced therein

to enable Alpine to understand and respond to the allegations. To the extent there are any

well-pled factual allegations in Paragraph 30 for which a response is required, Alpine denies the

allegations.

         31.    No response is required to Paragraph 31 because the allegations contain

conclusions of law and/or are vague and conclusory insomuch as Plaintiff fails to provide

identifying information for any of the alleged securities or other transactions referenced therein

to enable Alpine to understand and respond to the allegations. Alpine further affirmatively

alleges that Paragraph 31 contains alleged references to alleged communications that are

protected by the Alpine’s attorney-client privilege, which Alpine has not waived, and which




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must be stricken from the Complaint. To the extent there are any well-pled factual allegations in

Paragraph 31 for which a response is required, Alpine denies the allegations.

         32.    No response is required to Paragraph 32 because the allegations contain

conclusions of law and/or are vague and conclusory insomuch as Plaintiff fails to provide

identifying information for any of the alleged securities or other transactions referenced therein

to enable Alpine to understand and respond to the allegations. To the extent there are any

well-pled factual allegations in Paragraph 32 for which a response is required, Alpine denies the

allegations.

         33.    No response is required to Paragraph 33 because the allegations contain

conclusions of law and/or are vague and conclusory insomuch as Plaintiff fails to provide

identifying information for any of the alleged securities or other transactions referenced therein

to enable Alpine to understand and respond to the allegations. To the extent there are any

well-pled factual allegations in Paragraph 33 for which a response is required, Alpine denies the

allegations.

         34.    No response is required to Paragraph 34 because the allegations contain

conclusions of law and/or Plaintiff’s characterization of the requirements of certain laws,

regulations or other documents that speak for themselves as to their legal force and meaning, if

any. To the extent there are any well-pled factual allegations in Paragraph 34 to which a

response is required, Alpine denies the allegations to the extent Plaintiff has mischaracterized

and/or failed to fully, fairly and accurately quote from the referenced rule or regulation.

         35.    No response is required to Paragraph 35 because the allegations are vague and

conclusory insomuch as Plaintiff fails to provide identifying information for any of the alleged

securities or other transactions referenced therein to enable Alpine to understand and respond to




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the allegations. To the extent there are any well-pled factual allegations in Paragraph 35 for

which a response is required, Alpine denies the allegations.

         36.    No response is required to Paragraph 36 because the allegations are vague and

conclusory insomuch as Plaintiff fails to provide identifying information for any of the alleged

securities or other transactions referenced therein to enable Alpine to understand and respond to

the allegations. To the extent there are any well-pled factual allegations in Paragraph 36 for

which a response is required, Alpine denies the allegations.

         37.    No response is required to Paragraph 37 because the allegations contain

conclusions of law and/or are vague and conclusory insomuch as Plaintiff fails to provide

identifying information for any of the alleged securities or other transactions referenced therein

to enable Alpine to understand and respond to the allegations. To the extent there are any

well-pled factual allegations in Paragraph 37 to which a response is required, Alpine denies the

allegations.

         38.    No response is required to Paragraph 38 because the allegations are vague and

conclusory insomuch as Plaintiff fails to provide identifying information for any of the alleged

securities or other transactions referenced therein to enable Alpine to understand and respond to

the allegations. To the extent there are any well-pled factual allegations in Paragraph 38 for

which a response is required, Alpine denies the allegations.

         39.    No response is required to Paragraph 39 because the allegations contain

conclusions of law and/or Plaintiff’s characterization of the requirements of certain laws,

regulations or other documents that speak for themselves as to their legal force and meaning, if

any. To the extent there are any well-pled factual allegations in Paragraph 39 to which a




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response is required, Alpine denies the allegations to the extent Plaintiff has mischaracterized

and/or failed to fully, fairly and accurately quote from the referenced rule or regulation.

         40.    Alpine admits that it filed no SARs between approximately August 16, 2011 and

December 13, 2011. No response is required to the remaining allegations in Paragraph 40

because the allegations contain conclusions of law and/or are vague and conclusory insomuch as

Plaintiff fails to provide identifying information for any of the alleged securities or other

transactions referenced therein to enable Alpine to understand and respond to the allegations.

To the extent any of the remaining allegations in Paragraph 40 are well-pled factual allegations

for which a response is required, Alpine denies the remaining allegations.

         41.    No response is required to Paragraph 41 because the allegations contain

conclusions of law and/or are vague and conclusory insomuch as Plaintiff fails to provide

identifying information for any of the alleged securities or other transactions referenced therein

to enable Alpine to understand and respond to the allegations. To the extent there are any

well-pled factual allegations in Paragraph 41 for which a response is required, Alpine denies the

allegations.

         42.    No response is required to Paragraph 42 because the allegations contain

conclusions of law and/or Plaintiff’s characterization of the requirements of certain laws,

regulations or other documents that speak for themselves as to their legal force and meaning,

if any. To the extent there are any well-pled factual allegations in Paragraph 42 to which a

response is required, Alpine denies the allegations to the extent Plaintiff has mischaracterized

and/or failed to fully, fairly and accurately quote from the referenced rule or regulation.

         43.    No response is required to Paragraph 43 because the allegations are vague and

conclusory insomuch as Plaintiff fails to provide identifying information for any of the alleged




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securities or other transactions referenced therein to enable Alpine to understand and respond to

the allegations. To the extent there are any well-pled factual allegations in paragraph 43 for

which a response is required, Alpine denies the allegations.

                                    Response to Claim For Relief

                Violations of Exchange Act Section 17(a) and Rule 17a-8 Thereunder

         44.      Alpine re-alleges and incorporates by reference its response to paragraphs 1-43.

         45.      Alpine denies the allegations in paragraph 45.

         46.      Alpine denies the allegations in paragraph 46.

         47.      Alpine denies the allegations in paragraph 47.

         48.      Alpine denies each and every allegation in Plaintiff’s Complaint not specifically

admitted herein.

                                          FIRST DEFENSE

         Plaintiff’s claim and any remedies sought are barred, in whole or in part, because

Plaintiff’s Complaint is vague, conclusory and deficient because it fails to include information

essential to the claims that it purports to assert. The Complaint fails to identify any of the

relevant transactions, circumstances or events that form the basis of its Complaint or the

penalties sought. For example, in Paragraph 25 of the Complaint, Plaintiff alleges, as the basis

of its claim, that Alpine “systematically omitted from at least 1,950 SARs material red flag or

other information of which it was aware.” (Plaintiff’s Complaint, ¶ 25 (emphasis added).)

Plaintiff does not identify the SARs at issue or the allegedly omitted “red flags” or “other

information” for the SARs at issue. Plaintiff also utilizes a similar defectively vague, conclusory

and generalized pleading style throughout its Complaint. Plaintiff’s Complaint thus creates an

undue and unjust burden for Alpine by failing to provide Alpine with fair notice of the nature




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and basis of Plaintiff’s claim to enable Alpine to fully and fairly respond to allegations in the

Complaint or prepare a defense, as is required by the pleading requirements of the Federal Rules

of Civil Procedure, including Rule 8(a)(2) and the Due Process Clauses in the 5th and 14th

Amendments of the U.S. Constitution. Despite answering the Complaint to the best of its ability,

Alpine preserves this defense for future proceedings.

                                       SECOND DEFENSE

         Plaintiff’s claim and any remedies sought are barred, in whole or in part, for failure to

state a claim upon which relief can be granted.

                                           THIRD DEFENSE

         Plaintiff’s claim and any remedies sought are barred, in whole or in part, because this

Court lacks personal jurisdiction over Alpine in this District.

                                       FOURTH DEFENSE

         Plaintiff’s claim and any remedies sought are barred, in whole or in part, because venue

is improper in this district and/or because venue should have been transferred, pursuant to

28 U.S.C. § 1404(a) and/or § 1406, to a more convenient forum, including to the United States

District Court for the District of Utah.

                                           FIFTH DEFENSE

         Plaintiff’s claim and any remedies sought are barred or reduced, in whole or in part,

because Plaintiff lacks standing and/or authority to bring an enforcement action for alleged

violations of the BSA and/or its implementing regulations, including for any of the alleged

violations that may be at issue in this case, and/or to seek penalties or other relief for alleged

violations of the BSA and/or its implementing regulations.




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                                        SIXTH DEFENSE

         Plaintiff’s claim and any remedies sought are barred or reduced, in whole or in part, by

the provisions 31 C.F.R. § 1023.320(a)(3) because, upon information and belief, SARs were

filed with respect to transactions at issue by other broker-dealers involved in the transaction.

                                      SEVENTH DEFENSE

         Plaintiff’s claim and any remedies sought are barred or reduced, in whole or in part,

because Alpine, and its employees and agents, completely or substantially complied in good

faith, and/or made good faith efforts to comply with all of the requirements at law to establish,

maintain and implement adequate AML and BSA compliance programs, including but not

necessarily limited to, Section 17(a) of the Securities and Exchange Act and Rule 17a-8

thereunder, the requirements of the BSA and/or any implementing regulations.

                                       EIGHTH DEFENSE

         Plaintiff’s claim and any remedies sought are barred or reduced, in whole or in part,

because the presentation of the evidence that would be necessary to support the claims –

i.e., SARs, supporting SARs files and purported “red flag” data – would contravene the

applicable confidentiality and non-disclosure provisions of the BSA, including but not

limited to 31 U.S.C. § 5318(g)(2), and its implementing regulations, including but not

limited to, 31 C.F.R. § 1023.320(e). These confidentiality and non-disclosure provisions create

an unqualified and unwaivable discovery and evidentiary privilege against disclosure that

precludes, inter alia, the presentation of evidence relating to a SAR and a review or

consideration of the contents of a SAR in a court proceeding.




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                                      NINTH DEFENSE

         Plaintiff’s claim and any remedies sought are barred or reduced, in whole or in part,

because neither Alpine, nor any of its employees or agents, acted willfully or negligently, and/or

with any other requisite mental state, and is not alleged to have so acted, with respect to any of

the alleged violations at issue.

                                      TENTH DEFENSE

         Plaintiff’s claim and any remedies sought are barred or reduced, in whole or in part,

because, upon information and belief, the civil penalties sought by Plaintiff on its claim in this

action are excessive in amount and/or are otherwise not authorized by or are outside the scope of

Section 21B(d)(3) of the Exchange Act (15 U.S.C. § 78u(d)(3)), the applicable penalty

provisions of the BSA and its implementing regulations, including but not limited to

31 U.S.C. § 5321 and/or 31 C.F.R. § 1010.820, and/or applicable authority interpreting and

applying these provisions.

                                   ELEVENTH DEFENSE

         Plaintiff’s claim and any remedies sought are barred or reduced, in whole or in part,

because, upon information and belief, the civil penalties sought by Plaintiff on its claim in this

action are unduly penalizing in violation of established authority interpreting and applying the

relevant statutes, the 8th Amendment of the U.S. Constitution’s prohibition on excessive fines,

and the rights to Due Process under the Fifth and/or Fourteenth Amendments of the

U.S. Constitution.    Additionally, the standards for determining penalties are unduly and

unconstitutionally vague and subjective, and permit arbitrary, capricious, excessive and

disproportionate punishment that serves no legitimate governmental interest.




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                                      TWELFTH DEFENSE

         Plaintiff’s request for a permanent injunction fails because Plaintiff cannot meet the

relevant factors to demonstrate entitlement to that relief.

                                   THIRTEENTH DEFENSE

         Plaintiff’s claim and any remedies sought are barred or reduced, in whole or in part,

because the conduct of other persons or parties proximately caused the alleged violation, and

such third-party acts constitute intervening or superseding causes of any alleged violation of law.

                                   FOURTEENTH DEFENSE

         Plaintiff’s claim and any remedies sought are barred or reduced, in whole or in part,

because it contravenes Alpine’s right to Due Process as to fair notice and as provided in the Fifth

and/or Fourteenth Amendments to the U.S. Constitution because Plaintiff seeks to enforce

subjective, vague, and/or overbroad laws, rules and regulations, and/or a subjective, vague and/or

overbroad application of the relevant laws, rules or regulations.

                                     FIFTEENTH DEFENSE

         Plaintiff’s claim and any remedies sought are barred or reduced, in whole or in part,

because the allegations in the Complaint concern events and circumstances that occurred as

much as six years ago. As such, the filing of Complaint at this time violates fundamental notions

of fairness and Due Process under the Fifth and/or Fourteenth Amendments to the

U.S. Constitution in that the Plaintiff has unjustifiably delayed filing of the Complaint until such

a significant amount of time has elapsed that Alpine’s ability to summon witnesses and produce

relevant testimony is significantly and adversely affected.




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                                     SIXTEENTH DEFENSE

         Plaintiff’s claim and any remedies sought are barred or reduced, in whole or in part, by

the doctrines of waiver and estoppel based on, inter alia, the following conduct: (a) Plaintiff

engaged in the conduct and for the purposes described in Alpine’s Nineteenth Defense, which is

incorporated herein by reference in its entirety; (b) Alpine was informed during prior regulatory

examinations by OCIE and/or FINRA that Alpine was filing “too many SARs;” (c) Plaintiff has

failed to follow its own rules, regulations and procedures, including the limitations upon the

exercise of authority by Plaintiff under such rules, regulations and procedures; (d) Plaintiff has

failed to follow the rules, regulations and procedures under the BSA and its implementing

regulations, including the limitations upon the exercise of authority by Plaintiff thereunder;

(e) Plaintiff is attempting to apply the relevant laws, rules or regulations at issue in this action in

a new manner, and/or by attempting to graft or impose, through the fiat of interpretation, new

obligations and requirements into the such laws, rules or regulations that are not found in the text

thereof, without providing Alpine fair notice of such purported requirements or obligations at the

time of the conduct at issue; (f) Plaintiff failed to notify Alpine of the alleged deficiencies in its

SAR filings and/or in the design and implementation of Alpine’s AML compliance program,

including but not limited to, during regulatory examinations, or give Alpine an opportunity to

correct any such deficiencies, prior to commencing this action; (g) Plaintiff promulgated the

rules and guidance, including FINRA’s small firm template, that Alpine used and relied on in

designing and implementing its AML compliance program, with which Plaintiff now takes issue;

(h) Plaintiff reviewed Alpine’s AML compliance program and Alpine’s SARs filings during the

relevant period, including during regulatory examinations, but did not identify the alleged

deficiencies in the general design or implementation of Alpine’s AML compliance program or in




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certain of Alpine’s SAR filings that may now be at issue in this action, and thereby misled

Alpine into concluding that its AML compliance program was adequate in the eyes of the federal

regulators; and (i) Plaintiff is pursuing this action based on alleged conduct that occurred as

much as six years ago, which adversely affects and prejudices Alpine’s ability to summon

witnesses and produce relevant testimony and/or records in its defense. Plaintiff’s conduct

alleged herein has caused, and will continue to cause, significant prejudice to Alpine, including,

inter alia, Alpine’s good will and continued operation of its lawful business that serves an

important and entirely legal OTC segment of the market and to Alpine’s ability to adequately

and sufficiently defend itself against Plaintiff’s allegations in this action. Plaintiff’s misconduct

as described herein, and in Alpine’s Nineteenth Defense below, is evidence of severe

circumstances and governmental abuses which rise to a constitutional magnitude, including but

not limited to, Plaintiff’s constitutional rights to due process and equal protection under the law.

                                   SEVENTEENTH DEFENSE

         Plaintiff’s claim and any remedies sought are barred or reduced, in whole or in part, to

the extent that the applicable statutes of limitations or statutes of repose have run.

                                    EIGHTEENTH DEFENSE

         Upon information and belief, Plaintiff is seeking civil penalties for each and every

alleged SAR that Plaintiff claims violates the BSA, and/or its implementing regulations.

Plaintiff is precluded from maintaining a claim to seek civil penalties for individual alleged SAR

violations because Plaintiff has failed to allege all of the necessary elements to seek or recover

such penalties for alleged violations of, inter alia, the BSA or its implementing regulations.




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                                   NINETEENTH DEFENSE

         Plaintiff’s claim and any remedies sought are barred or reduced, in whole or in part,

because Plaintiff has acted outrageously, inequitably, unconstitutionally, in bad faith, with an

ulterior purpose, with an improper motive, and/or with unclean hands, in initiating and

conducting its investigation of Alpine and in bringing this enforcement action.             Upon

information and belief, Plaintiff has commenced its investigation and this enforcement action

against Alpine for, inter alia, the following purposes: (a) because of, or in retaliation for,

Alpine’s participation as a clearing firm in the microcap over-the-counter (“OTC”) stock market,

which is looked upon with disfavor by the SEC even though OTC stock transactions are a legal

segment of the market, with the purpose of trying to make an example of Alpine to send a

message to other participants in the OTC stock market through enforcement rather than

regulation; (b) because of, or in retaliation for, formal and informal statements or complaints

made by Alpine and/or certain affiliated entities or individuals regarding FINRA and/or Plaintiff,

including a lawsuit commenced against FINRA, and/or in retaliation for efforts by individuals

affiliated with Alpine to set up a self-regulatory organization (“SRO”) that would compete with

FINRA; and (c) to try to force Alpine out of business through excessive regulatory inquiries in

general and through this action, including by pursuing this action in a remote and unduly

expensive forum for Alpine, and by seeking excessive penalties in this non-scienter based books

and records case, thereby restricting the public’s access to the OTC market segment and

violating Alpine’s right to conduct a lawful business.

         Furthermore, upon information and belief, the Plaintiff’s improper and ulterior motives,

unclean hands, and outrageous and unconstitutional activity are indicated by, inter alia, the

following conduct: (a) Plaintiff improperly commenced its investigation and this action in




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conjunction with a parallel criminal investigation and demands by the United States Department

of Justice (“DOJ”) for the improper purpose of trying to gather evidence for a parallel criminal

proceeding; and/or (b) Plaintiff arbitrarily, selectively and discriminatorily pursued an

investigation and this enforcement action against Alpine, in violation of Alpine’s constitutional

rights to equal protection and due process of law, where it has not pursued similar investigations

and enforcement actions, sought to apply the laws or regulations in the same manner, or sought

penalties of this nature or severity against other similarly situated broker dealers who filed

allegedly “deficient” SARs.

         Although discovery is still in the early stages, upon information and belief, the Plaintiff’s

improper and ulterior motives, unclean hands, and outrageous and unconstitutional activity are

indicated by, inter alia, the following conduct: (a) Plaintiff has injected false, inflammatory and

irrelevant allegations in its Complaint that Alpine facilitates fraud and criminal behavior by third

parties; (b) Plaintiff has injected false, inflammatory and irrelevant allegations in its Complaint

regarding Scottsdale Capital Advisors Corp., an entity that is affiliated with Alpine; (c) upon

information and belief, Plaintiff pursued its investigation of Alpine and brought this action in

retaliation for Alpine’s formal and informal complaints and other actions regarding Plaintiff’s

and/or FINRA’s conduct set forth above; (d) Plaintiff is seeking excessive penalties and/or other

remedies that are not supported by its own allegations, and which Plaintiff has not sought against

other similarly situated broker dealers in the industry, for the purpose of trying to force Alpine

out of business; (e) Plaintiff pursued its investigation of Alpine and filed this enforcement action

against Alpine for alleged violations of the BSA, even though Plaintiff knows or should know it

lacks authority to file enforcement actions or recover penalties for alleged violations of the BSA;

(f) Plaintiff involved the DOJ during Plaintiff’s investigation, including conducting joint witness




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interviews, and attempted to persuade the DOJ to pursue a parallel criminal investigation to try to

induce Alpine to agree to a resolution with the SEC; (g) Plaintiff filed a declaration with the

Court from L. James Lyman that proffers purported proposed testimony from several witnesses

allegedly gathered during Plaintiff’s joint investigation with the Department of Justice that, upon

information and belief, Plaintiff knows or should have known is not accurate; (h) Plaintiff

brought this action in a forum that is inconvenient and highly costly and prejudicial to Alpine for

the stated the purpose of making the biggest media splash in the industry by making an example

of Alpine; (i) Plaintiff is trying to make an example of Alpine to send a message to the industry

through enforcement, rather than through regulation; (j) Plaintiff has intentionally and

unreasonably singled out Alpine and has not pursued enforcement actions against other similarly

situated broker dealers in the industry based on the nature or type of allegations at issue here,

sought penalties of this nature or severity against other similarly situated broker dealers in the

industry, or otherwise sought to apply the laws and regulations at issue in this action in the same

manner against other similarly situated broker-dealers in the industry; and (k) the conduct more

particularly set forth in Alpine’s Sixteenth Defense, which is incorporated herein by reference in

its entirety.   Upon information and belief, additional facts supporting this defense will be

uncovered during discovery.

         Plaintiff’s improper and ulterior motives, unclean hands, and outrageous and/or

unconstitutional activity has caused, and will continue to cause, significant prejudice to Alpine,

including, inter alia, Alpine’s good will and continued operation of its lawful business that

serves an important and entirely legal OTC segment of the market and to Alpine’s ability to

adequately and sufficiently defend itself against Plaintiff’s allegations in this action.      The

prejudice to Alpine from Plaintiff’s conduct as described herein rises to a constitutional




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magnitude, including but not limited to, Plaintiff’s constitutional rights to due process and equal

protection of law, to be free from arbitrary, selective, retaliatory and discriminatory enforcement

of the law.

                                    TWENTIETH DEFENSE

         Plaintiff’s claim and any remedies sought are barred or reduced, in whole or in part,

because Plaintiff’s enforcement action amounts to arbitrary, selective and discriminatory

enforcement of the law, in violation of Alpine’s constitutional rights to due process of law and

equal protection of the laws. As set forth in greater detail in Alpine’s Nineteenth Defense, which

is incorporated herein by reference in its entirety, Plaintiff has unjustifiably and

unconstitutionally singled out Alpine for enforcement based on an application of the law and by

seeking penalties that Plaintiff has not sought against other similarly situated broker dealers.

                                  TWENTY FIRST DEFENSE

         Plaintiff’s claim and any remedies sought are barred or reduced, in whole or in part,

because one or more of the SARs and/or transactions at issue qualify for exceptions to the BSA

reporting requirements under 31 C.F.R. § 1023.320(c)(1)(ii), 31 C.F.R. § 1010.315, and/or

31 C.F.R. § 1023.315.

                                TWENTY SECOND DEFENSE

         Plaintiff’s claim and any remedies sought are barred or reduced, in whole or in part,

because Defendant’s AML and/or BSA compliance programs complied, at all relevant times,

with the requirements of 31 U.S.C. § 5318(h), 31 C.F.R. § 1023.210, and any other controlling

laws or regulations governing AML and/or BSA compliance programs, including to the extent

applicable, FINRA Rule 3310.




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                                  TWENTY THIRD DEFENSE

          Plaintiff’s claim and any remedies sought are barred or reduced, in whole or in part,

because, at all relevant times, Alpine did not have a legal obligation to file any SARs pursuant to

31 U.S.C. § 5318(g), 31 C.F.R. § 1023.320(a), and/or other controlling laws or regulations,

where Alpine did not know, suspect, or have reason to suspect, that a particular transaction

involved a possible illegal activity or other violation of the law.

                                 TWENTY FOURTH DEFENSE

          Plaintiff’s claim and any remedies sought are barred or reduced, in whole or in part,

because Alpine cannot be held liable where there is no employee or agent of Alpine during the

relevant period who is alleged to have violated any of the laws at issue or acted with the requisite

intent with respect to any of the alleged violations of law at issue.

                                   TWENTY FIFTH DEFENSE

          Alpine presently has insufficient knowledge or information regarding whether it may

have additional, as yet un-asserted defenses, and reserves the right to assert further defenses as

may become necessary as this case develops.

                                     PRAYER FOR RELIEF

          WHEREFORE Defendant, having fully answered the Complaint, prays as follows:

          1.     For dismissal of the Complaint with prejudice as to each and every claim alleged

against Defendant.

          2.     For an award of attorneys’ fees and costs incurred by Defendant in defending this

action.

          3.     For such other and further relief as the Court deems appropriate.




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                                         JURY DEMAND

         Alpine demands a trial by jury on all claims so triable.


         Respectfully submitted this 27th day of October, 2017.




                                               /s/ Brent R. Baker
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